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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the Oil Rig * MDL 2:10-MD-02179
DEEPWATER HORIZON in the *
GULF OF MEXICO on *
APRIL 20, 2010 *
* SECTION “J”
* JUDGE CARL J. BARBIER
RELATED TO *
* MAG. 1
This Document Relates to: 2:Ll-cv-O1051 *
GUY J. ADAMS, ET AL. *
* CIVIL JURY CASE
*

AFFIDAVIT OF JOSEPH NEATHAMER

STATE OF LOUISIANA
PARISH OF JEFFERSON

BEFORE ME, the undersigned authority, personally came and appeared:

JOSEPH NEATHAMER

Who, being duly sworn, did depose and say:

1) I am the president of JMN Specialties, Inc. located at 1100 Victory Drive,
Westwego, Louisiana 70094;

2) Iam tamiliar with the products sold by JMN Specialties, Inc. in connection with
the BP Oil spill which occurred in 2010;

3) Following the BP Oil spill, JMN Specialties, Inc. sold degreasers identified as

DG955, Aqua Clean and Cytosol, (hereinatter referred to as “the products”) which were

purchased by BP;

EXHIBIT

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4) The Products are degreasers which contain non-hazardous chemicals, are non-
toxic, biodegradable and contain no EPA hazardous ingredients;

5) The DG955 and Aqua Clean are water based and the Cytosol is vegetable oil
based;

6) The products are sold in individualized containers;

7) The products were used by BP and/or through BP contracted service companies

(contractors) to clean equipment onshore once such equipment was returned from use offshore;

8) The products were also sold directly to contractors engaged in oil clean up for the
same use;
9) DG955 and Aqua Clean were used onshore only and not sold for use offshore;

10)  Cytosol was primarily used onshore but also used to clean the hull of boats in
port;

11) The products were not sold as oil dispersants;

12) Based upon the affirmative knowledge, information and belief of JMN
Specialties, Inc. the products were not used as dispersants of oil following the BP Oil spill, nor

have they ever been used as such;

The foregoing information is based upon my personal knowledge, information and belief

and is true and correct to a reasonable degree of certainty. OA0q-

WITNESSES:

